     Case: 22-2254   Document: 21         Filed: 02/06/2023   Pages: 64


                                 In the
       UNITED STATES COURT OF APPEALS
                        for the Seventh Circuit


                            No. 22-2254


UNITED STATES OF AMERICA,

                                                          Plaintiff-Appellee,
                                    v.

PATRICK D. THOMPSON,

                                                      Defendant-Appellant.


            On Appeal from the United States District Court
         for the Northern District of Illinois, Eastern Division.
           No. 21 CR 279 — Franklin U. Valderrama, Judge.


            BRIEF OF THE UNITED STATES

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           Case: 22-2254              Document: 21                 Filed: 02/06/2023            Pages: 64


                                         TABLE OF CONTENTS


TABLE OF AUTHORITIES ............................................................................... iii

JURISDICTIONAL STATEMENT ..................................................................... 1

ISSUES PRESENTED FOR REVIEW ............................................................... 1

STATEMENT OF THE CASE ............................................................................ 2

SUMMARY OF ARGUMENT ........................................................................... 15

ARGUMENT ...................................................................................................... 18

    I.         Viewed in the Light Most Favorable to the Government, the
               Jury’s Verdicts Were Amply Supported by the Evidence. ................ 18

          A.        Standard of Review ........................................................................ 18

          B.        Analysis .......................................................................................... 18

               1.      Substantial Evidence Supported the Jury’s Finding That
                       Defendant Told Planet Home and the FDIC That he Owed
                       Only $100,000 or $110,000 and No Higher Amount, as
                       Charged in Counts One and Two. ............................................. 18

               2.      Substantial Evidence Supported the Jury’s Finding That
                       Defendant’s Statement That He Borrowed Funds for
                       “Home Improvement” Were Made To Influence the FDIC,
                       as Charged in Count Two. ......................................................... 23

    II.        Defendant’s Statements Were False and Even If They Were
               Literally True But Misleading, That Would Provide Defendant
               With No Defense to the § 1014 Charges Against Him...................... 28

          A.        Standard of Review ........................................................................ 28

          B.        Analysis .......................................................................................... 28

               1.      Defendant’s Statements Were False Under § 1014. ................ 28

               2.      “Literal Truth” Is Not an Available Defense Under § 1014..... 32

                                                             i
           Case: 22-2254            Document: 21                  Filed: 02/06/2023            Pages: 64


             3.      The Plain Language of § 1014 Does Not Support a Literal
                     Truth Defense. ............................................................................ 36

             4.      Even if a Literal Truth Defense Were Available Under
                     § 1014, Defendant Could Not Prevail Because His
                     Statements Were Not Literally True. ....................................... 41

    III.     Neither the Jury Instructions Nor the Trial Evidence
             Constructively Amended the Indictment. ......................................... 43

        A.        Standard of Review ........................................................................ 43

        B.        Analysis .......................................................................................... 43

    IV.      The District Court Did Not Err in Awarding Restitution to the
             FDIC. ................................................................................................... 50

        A.        Standard of Review ........................................................................ 50

        B.        Background .................................................................................... 51

        C.        Analysis .......................................................................................... 53

CONCLUSION ................................................................................................... 56




                                                          ii
         Case: 22-2254       Document: 21            Filed: 02/06/2023      Pages: 64


                              TABLE OF AUTHORITIES

                                           CASES

Bronston v. United States, 409 U.S. 352 (1973) ........................................passim

Paroline v. United States, 572 U.S. 434 (2014) .......................................... 54, 56

United States v. Adcock, 534 F.3d 635 (7th Cir. 2008) .................................... 51

United States v. Allen, 381 F. App’x 617 (7th Cir. 2010) ................................. 51

United States v. Armbruster, 48 F.4th 527 (7th Cir. 2022) ............................. 18

United States v. Attick, 649 F.2d 61 (1st Cir. 1981) ......................................... 36

United States v. Bearden, 274 F.3d 1031 (6th Cir. 2001) ................................ 55

United States v. Brodie, 507 F.3d 527 (7th Cir. 2007) ..................................... 46

United States v. Clark, 787 F.3d 451 (7th Cir. 2015) ...................................... 53

United States v. Cox, 54 F.4th 502 (7th Cir. 2022) .......................................... 22

United States v. Cusimano, 148 F.3d 824 (7th Cir. 1998) ............................... 43

United States v. Edgeworth, 889 F.3d 350 (7th Cir. 2018) .............................. 44

United States v. Ellis, 50 F.3d 419 (7th Cir. 1995) .......................................... 38

United States v. Filer, 56 F.4th 421 (7th Cir. 2022) ........................................ 22

United States v. Folks, 236 F.3d 384 (7th Cir. 2001) ....................................... 49

United States v. Foy, 50 F.4th 616 (7th Cir. 2022) .......................................... 28

United States v. Freed, 921 F.3d 716 (7th Cir. 2019)................................passim

United States v. Gan, 54 F.4th 467 (7th Cir. 2022) ......................................... 44

United States v. Gellene, 182 F.3d 578 (7th Cir. 1999) .................................... 38

United States v. Haddock, 956 F.2d 1534 (10th Cir. 1992) ............................. 31

United States v. Haddock, 961 F.2d 933 (10th Cir. 1992) ............................... 31

United States v. Hairston, 888 F.2d 1349 (11th Cir. 1989) ............................. 55


                                               iii
        Case: 22-2254       Document: 21            Filed: 02/06/2023      Pages: 64


United States v. Hall, 142 F.3d 988 (7th Cir. 1998) ........................................ 46

United States v. Hathaway, 882 F.3d 638 (7th Cir. 2018) ............................... 46

United States v. Heon Seok Lee, 937 F.3d 797 (7th Cir. 2019) ...... 44, 45, 48, 49

United States v. Kelerchian, 937 F.3d 895 (7th Cir. 2019) .............................. 18

United States v. Khilchenko, 324 F.3d 917 (7th Cir. 2003) ............................. 45

United States v. Krilich, 159 F.3d 1020 (7th Cir. 1998) ............................ 37, 39

United States v. Kucik, 844 F.2d 493 (7th Cir. 1988) ...................................... 40

United States v. Kurlemann, 736 F.3d 439 (6th Cir. 2013) ....................... 39, 40

United States v. Laikin, 583 F.2d 968 (7th Cir. 1978) ..................................... 33

United States v. Lane, 323 F.3d 568 (7th Cir. 2003) ........................................ 29

United States v. Mitchell, 15 F.3d 953 (10th Cir. 1994) ............................ 27, 28

United States v. Mitchell, 64 F.3d 1105 (7th Cir. 1995) .................................. 48

United States v. Ongaga, 820 F.3d 152 (5th Cir. 2016) ............................. 47, 49

United States v. Phillips, 731 F.3d 649 (7th Cir. 2013) ............................. 26, 27

United States v. Rahman, 805 F.3d 822 (7th Cir. 2015).................................. 33

United States v. Rand, 403 F.3d 489 (7th Cir. 2005) ........................... 50, 51, 53

United States v. Ratliff-White, 493 F.3d 812 (7th Cir. 2007) .......................... 48

United States v. Remsza, 77 F.3d 1039 (7th Cir. 1996) ................................... 43

United States v. Reynolds, 919 F.2d 435 (7th Cir. 1990) ................................. 34

United States v. Savoie, 985 F.2d 612 (1st Cir. 1993)...................................... 55

United States v. Sorich, 523 F.3d 702 (7th Cir. 2008) ..................................... 49

United States v. Staniforth, 971 F.2d 1355 (7th Cir. 1992) ............................. 35

United States v. Sullivan, 903 F.2d 1093 (7th Cir. 1990)................................ 26

United States v. Swanquist, 161 F.3d 1064 (7th Cir. 1998) ...................... 29, 30


                                              iv
           Case: 22-2254           Document: 21                 Filed: 02/06/2023            Pages: 64


United States v. Tantchev, 916 F.3d 645 (7th Cir. 2019) ................................. 42

United States v. Thorn, 17 F.3d 325 (11th Cir. 1994) ...................................... 35

United States v. Trennell, 290 F.3d 881 (7th Cir. 2002) .................................. 43

United States v. Trice, 823 F.2d 80 (5th Cir. 1987) ................................... 30, 31

United States v. Wells, 127 F.3d 739 (8th Cir. 1997) ....................................... 31

United States v. Wells, 519 U.S. 482 (1997) ............................. 26, 27, 31, 32, 35

United States v. Yasak, 884 F.2d 996 (7th Cir. 1989) ...................................... 19

United States v. Young, 908 F.3d 241 (7th Cir. 2018) ..................................... 51

Williams v. United States, 458 U.S. 279 (1982) ............................. 35, 37, 39, 40

                                                 STATUTES

18 U.S.C. § 152(3) .............................................................................................. 38

18 U.S.C. § 1001(a)(2) ........................................................................................ 33

18 U.S.C. § 1014 ..........................................................................................passim

18 U.S.C. § 1621 ................................................................................................. 32

18 U.S.C. § 1623 ................................................................................................. 33

18 U.S.C. § 3231 ................................................................................................... 1

18 U.S.C. § 3663A(a) .......................................................................................... 53

18 U.S.C. § 3742(a) .............................................................................................. 1

26 U.S.C. § 7206(1) .................................................................................. 1, 12, 34

28 U.S.C. § 1291 ................................................................................................... 1

                                                     RULE

Federal Rules of Criminal Procedure 29 .................................................... 13, 14




                                                          v
        Case: 22-2254     Document: 21         Filed: 02/06/2023   Pages: 64


                        JURISDICTIONAL STATEMENT

      Defendant-Appellant’s jurisdictional statement is not complete and

correct. Defendant was charged with making false statements to the Federal

Deposit Insurance Corporation and a financial institution, in violation of 18

U.S.C. § 1014 (Counts One and Two) and filing false income tax returns, in

violation of 26 U.S.C. § 7206(1) (Counts Three through Seven). 1 R. 1. On

February 14, 2022, a jury convicted defendant of all counts. R. 141. After

sentencing defendant, the district court entered judgment on July 11, 2022 and

an amended judgment on July 13, 2022. R. 188, 190; App. 22-39. Defendant

timely filed a notice of appeal on July 14, 2022. R. 191. The district court then

entered a second amended judgment on July 29, 2022. R. 198; App. 1-21.

      The district court had jurisdiction pursuant to 18 U.S.C. § 3231. This

Court has jurisdiction pursuant to 28 U.S.C. § 1291 and 18 U.S.C. § 3742(a).

                    ISSUES PRESENTED FOR REVIEW

      1.     Viewed in the light most favorable to the government, whether

sufficient evidence supported the jury’s verdicts, specifically: (1) for purposes

of both Counts One and Two, that defendant stated that he only owed $100,000


1 Citations to the Original Electronic Record on Appeal and Supplemental Record on

Appeal are designated as “R.” followed by the document number. Defendant’s brief
and appendix are cited as “Br.” and “App.,” respectively. Citations to the trial
transcript are cited as “Tr.” Citations to hearing transcripts are cited as “Tr.,”
preceded by the hearing date. The government’s trial and sentencing exhibits are
cited as “G. Ex.,” and defendant’s trial and sentencing exhibits are cited as “D. Ex.”
Page numbers are included where appropriate.
       Case: 22-2254    Document: 21        Filed: 02/06/2023      Pages: 64


or $110,000 and that any higher amount was incorrect, and (2) for purposes of

Count Two, that defendant’s statement that his loan was for “home

improvement” was made to dissuade the Federal Deposit Insurance

Corporation (“FDIC”) from collecting the full balance of defendant’s loan.

      2.    Whether defendant’s statements about his loan amount were

“false” for purposes of 18 U.S.C. § 1014, and, if literally true, whether literal

truth is a defense to § 1014.

      3.    Whether the jury instructions or the trial evidence constructively

amended the indictment and, in particular, the false statement charged in

Count One and one of the false statements charged in Count Two.

      4.    Whether the district court erred in awarding the FDIC $50,120.58

in restitution, the unpaid interest related to defendant’s loan.

                        STATEMENT OF THE CASE

Defendant’s Loan With Washington Federal Bank for Savings

      Defendant Patrick D. Thompson, a real estate lawyer, was a customer of

a local Chicago bank, Washington Federal Bank for Savings (“Washington

Federal”). Tr. 449, 800-01.

      In November 2011, defendant obtained a $110,000 loan from

Washington Federal to make a capital contribution to the law firm where he

was employed. Tr. 796-99, 828-30. Defendant signed a note for $110,000.

G. Ex. 89. The note referenced a “property address”—defendant’s residential


                                       2
       Case: 22-2254    Document: 21         Filed: 02/06/2023   Pages: 64


address—and stated that the loan was “secured” by property that could not be

“sold or transferred” without Washington Federal’s consent. Id. at 3. Although

the note referenced this security interest, no mortgage documents were ever

executed or filed. Tr. 458-59, 523-24.

      At or near the time this $110,000 note was signed, Washington Federal

issued defendant a letter, stating that defendant’s loan payments were

“$389.58 interest only” and the “first payment is due January 1, 2012.”

G. Ex. 90. Defendant made one payment on the loan in early 2012 in the

amount of $389.58. G. Ex. 163. After that payment, defendant made no

additional payments on the loan (Tr. 459-60), although bank president John

Gembara instructed Washington Federal employees to make entries in the

bank’s records to make it appear as if defendant were making payments

(Tr. 492-93).

      Over the next several years, defendant communicated frequently with

Gembara in an effort to obtain additional bank funds that defendant could use

to refinance mortgages he had obtained from other financial institutions on his

residence and a Chicago rental property. Tr. 883-86, 890-97, 900-09. The

proposed refinancings were never completed. Id. However, at Gembara’s

direction, Washington Federal provided defendant additional funds on two

separate occasions, in the form of checks from Washington Federal.




                                         3
       Case: 22-2254    Document: 21       Filed: 02/06/2023   Pages: 64


      On the first occasion, in 2013, defendant requested funds from

Washington Federal so he could make a tax payment to the IRS. In early 2013,

defendant had received an IRS notice telling defendant he had delinquent 2011

income taxes and that the IRS intended to levy his property if he did not pay

promptly. R. 40 at 3. In March 2013, defendant e-mailed Gembara; “[P]lease

respond to me today. I really do need your help.” G. Ex. 134. Gembara later

instructed a Washington Federal employee to prepare a $20,000 check made

payable to defendant (Tr. 461-63), which defendant used to make a payment to

the IRS (Tr. 886-89; G. Ex. 166).

      On the second occasion, in 2014, defendant requested additional funds

from Washington Federal to pay off a mortgage he had obtained from another

bank, North Community Bank. R. 40 at 4-5. Defendant’s North Community

Bank loan was delinquent. Id. In 2013 and 2014, North Community Bank

attempted to collect on the delinquent loan, and its efforts culminated in

January 2014 lawsuit against defendant. Id. Defendant’s wife was personally

served with the complaint at their home on January 22, 2014. Id. A few days

later, Gembara instructed a Washington Federal employee to generate a check

for defendant in the amount of $89,000, which defendant used to pay off the

North Community Bank loan. Id.; Tr. 465-67, 1070-71.

      Defendant signed no additional loan paperwork with Washington

Federal in connection with these 2013 and 2014 checks. Tr. 494-96. Indeed, the

                                       4
        Case: 22-2254        Document: 21       Filed: 02/06/2023   Pages: 64


only the loan paperwork defendant completed with Washington Federal was

the November 2011 note for $110,000. Id. When defendant received the

$20,000 check in 2013 and the $89,000 check in 2014, Washington Federal

added those amounts to the balance of his already outstanding $110,000 loan.

See, e.g., G. Ex. 59 at 2.

      Additionally, although defendant was not making loan payments,

defendant was aware that interest continued to accrue on his loan from

Washington Federal and that this interest was being added to the total loan

balance. For example, in February 2013, defendant sent an email to Gembara

stating that defendant knew he had “unpaid interest . . . for the outstanding

loan” and that the unpaid interest was “approximately $4,000.” G. Ex. 133. In

a March 2013 email, defendant told another Washington Federal employee

that he “was under the belief” that his unpaid interest of approximately $6,500

was “being rolled into the loan.” G. Ex. 57.

      In fact, that is precisely what Washington Federal was doing. On May

24, 2014, bank president Gembara sent defendant an email with the subject

line “Loan” and an attachment labeled “Loan Balance,” which contained a

chart showing defendant’s loan balance as $232,273.82. G. Ex. 59. The chart

reflected the breakdown of that balance, including the three checks defendant

had received from Washington Federal—the $110,000, $20,000, and $89,000




                                            5
       Case: 22-2254    Document: 21       Filed: 02/06/2023   Pages: 64


checks—and the fact that unpaid interest in the amount of $13,273.82 had

been added to defendant’s loan balance:




Id.

      There were other instances where Washington Federal informed

defendant that his loan balance was rising to include the $20,000 and $89,000

checks from 2013 and 2014 as well as unpaid interest. Defendant also

confirmed the rising balance in writing. In particular:

      • In April 2013, a Washington Federal employee emailed
        defendant paperwork showing his outstanding loan balance
        was $136,609.55—an amount consistent with the original
        $110,000 loan, the 2013 $20,000 check, and unpaid interest in
        the amount of approximately $6,600. G. Ex. 139 at 13.

      • In March 2016, defendant signed two separate loan
        applications under penalty of perjury, listing the outstanding
        balance of the Washington Federal loan to be $249,050, an
        amount consistent with the three checks for $110,000, $20,000
        and $89,000, and unpaid interest. G. Exs. 102 at 3, 103 at 3.
        Defendant retained copies of these loan applications in his
        personal records. G. Exs. 60 at 3, 61 at 5; Tr. 908.

      • In early 2017, defendant received a mortgage interest
        statement, a Form 1098, which stated that his outstanding
        principal on his Washington Federal loan was $249,049.16 as of


                                       6
       Case: 22-2254     Document: 21         Filed: 02/06/2023    Pages: 64


         January 1, 2016. G. Ex. 216 at 9. Defendant gave that form to
         his accountant. 2 Tr. 583-84. Defendant also kept in his files an
         envelope with a handwritten note that referenced the same
         amount shown on the Form 1098. It read: “Washington Fed
         $249,049.96?” Ex. 68; Tr. 909-10.

As of December 2018, defendant still retained a number of these documents in

his possession, and he provided them to the government in response to a

subpoena. See G. Exs. 59, 60, 61, 68; Tr. 822, 897, 908-10.

Defendant’s False Statement to Planet Home

      In December 2017, Washington Federal failed, and the FDIC became the

receiver for Washington Federal. 3 Tr. 780-81, 821. Washington Federal’s

outstanding loans—including defendant’s—became part of the receivership.

Tr. 781-82. The FDIC used a contractor to service defendant’s loan: financial

institution Planet Home Lending (“Planet Home”). Tr. 783-91.

      On February 16, 2018, Planet Home sent defendant an invoice showing

the Washington Federal loan had a balance of $269,120.58. G. Ex. 72. On

February 23, 2018, defendant called the Planet Home customer service phone


2 For tax years 2012-2017, defendant falsely claimed a mortgage interest deduction

on his income tax returns for mortgage interest purportedly paid to Washington
Federal, even though such payments were not made to Washington Federal, and his
loan was not a mortgage loan. Tr. 1116-20; R. 117 at 6. The jury convicted defendant
for filing false tax returns from 2013 through 2017 (Counts Three through Seven of
the indictment), and defendant does not challenge those convictions on appeal.

3 Following the failure of Washington Federal, a number of former Washington
Federal employees, board members, and customers were indicted for fraudulent
conduct that contributed to the bank’s failure, including embezzlement and falsifying
bank records. See United States v. Kowalski et al., 19 CR 226 (N.D. Ill.), Dkt. 534.

                                         7
        Case: 22-2254     Document: 21          Filed: 02/06/2023   Pages: 64


number listed on the invoice. Tr. 917-18. The phone call was audio-recorded.

Id.; G. Ex. 188.

      During the approximately 10-minute call, defendant told the Planet

Home customer service representative that he “just received some mail”

stating that Planet Home was “the servicer” for a loan from Washington

Federal, which had been “taken over by the FDIC.” G. Ex. 188; App. 122-23. 4

Defendant stated he was aware that Washington Federal’s failure was a “bad

situation” because there was “some financial impropriety” at the bank and

that Gembara had “commit[ed] suicide.” G. Ex. 188; App. 123.

      Defendant continued: “[T]he numbers that you’ve sent me shows that I

have a loan for $269,000 dollars. I—I borrowed $100,000. . . I signed a

Promissory Note . . . for $100,000” in “2011.” G. Ex. 188; App. 123. Defendant

said he had “never received an invoice” from Washington Federal and stated,

“I have all kinds of e-mails, and I – I have no idea where the 269 number comes

from” because “this doesn’t match with anything that I have.” G. Ex. 188;

App. 123-25. Defendant said he was “shocked” to receive the invoice and that

he was “very perplexed. This is a significantly higher, and much more than –

remotely of what we were talking about.” G. Ex. 188; App. 124, 126. Defendant




4 The audio recording of the call is G. Ex. 188. A transcript of the call was marked as

G. Ex. 189 and is located at App. 121-33.


                                            8
       Case: 22-2254    Document: 21         Filed: 02/06/2023   Pages: 64


then read the amount on the invoice—“$269,120.58”—and stated, “I dispute

that.” G. Ex. 188; App. 132.

      Defendant further stated that at Washington Federal, he had attempted

to take “the $100,000 that [he] had borrowed” and “add it to [his] current”

mortgages from other financial institutions to refinance that debt all together.

G. Ex. 188; App. 124; see also G. Ex. 188; App. 130 (defendant explained he

filled out multiple loan applications over the past “five, or six, seven years” to

“incorporate the $100,000 with [his] mortgage” on his “house” in order to

“combine it all into one and do a new loan”). Defendant said as recently as “like

October of last year,” meaning 2017, he tried to “refinance my house to take

the $100,000, add it to my current [mortgages at other institutions] and

refinance everything.” G. Ex. 188; App. 124.

      Defendant stated he had “no idea what paperwork” Planet Home had,

and that he would “like to see it.” G. Ex. 188; App. 123. Defendant also asked

to “talk to somebody” and “go through the documentation” G. Ex. 188; App. 124.

Defendant explained “there never was a closing” or a “mortgage” and that he

thought he had “just signed a Promissory Note.” G. Ex. 118; App. 126-27.

Defendant said he wanted to “quickly resolve all this” and “quickly move

forward,” asking if Planet Home could have someone get back to him “in a

week.” G. Ex. 188; App. 127, 131.




                                        9
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


     Defendant stated, “I know – I mean, I borrowed the money, I owe the

money – but I borrowed $100 thou – $110 – I think it was $110,000 dollars. .

. . I want to quickly resolve all this, and – and – you know, what I owe.”

G. Ex. 188; App. 127.

Defendant’s False Statements to the FDIC

     On March 1, 2018, two FDIC contractors, John Holly and Dan Newell,

spoke with defendant by phone about a Washington Federal loan to the 11th

Ward Democratic Organization, an entity with which defendant was

associated. Tr. 1002, 1007-10, 1024, 1077. The call was not recorded, though

both Newell and Holly kept contemporaneous notes from their conversation

with defendant in a shared log. Tr. 1004-05, 1083; App. 134-35.

     During the call, Holly and Newell asked defendant about his personal

loan from Washington Federal. Tr. 1010-12. As Holly and Newell testified,

they told defendant that his loan balance was approximately $269,000. Tr.

1011, 1079. In turn, defendant told Holly and Newell that he had borrowed

$110,000 from Washington Federal and that he “disputed” the loan balance

Holly had put forth. Tr. 1011-12, 1029, 1079, 1088-89. Defendant also told

Newell and Holly that the $110,000 he borrowed from Washington Federal was

for “home improvement.” Tr. 1012, 1035-36, 1078. Defendant added that he

had been dealing with Washington Federal’s Gembara. Tr. 1078. Holly and




                                       10
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


Newell’s contemporaneous notes reflected the following summary of their

conversation with defendant:

      [Defendant] spoke about his personal debt 110,000. John Gembara
      loaned him 110,000 for home improvement, which was to be rolled
      up into his home loan. . . . He is disputing his balance and is
      sending us the documentation for this also.

App. 135.

      Before their March 1, 2018 call with defendant, Holly and Newell had

not located in Washington Federal’s records copies of the $20,000 and $89,000

checks that defendant received in 2013 and 2014, respectively. Tr. 1003-04,

1010-12. But after that call, the pair “found the disbursement checks and

tracked down where the money went.” Tr. 1012. During a March 5, 2018 call,

Holly and Newell told defendant they had located two additional distributions

of $20,000 and $89,000. Tr. 1015. According to Holly, defendant stated that he

“was in doubt that [those distributions] were correct” and that he “would

review his records.” Tr. 1044; see also App. 135.

      As detailed further below in connection with defendant’s arguments

regarding the district court’s order of restitution, defendant ultimately repaid

the FDIC $219,000 in December 2018. R. 40 at 14. See infra at 51-53.

Indictment

      On April 29, 2021, defendant was indicted on two counts of making a

false statement to the FDIC and Planet Home, in violation of 18 U.S.C. § 1014



                                       11
         Case: 22-2254   Document: 21        Filed: 02/06/2023   Pages: 64


(Counts One and Two), and five counts of making a false statement on an

income tax return for tax years 2013-2017, in violation of 26 U.S.C. § 7206(1)

(Counts Three through Seven). R. 1.

        Under § 1014, it is a crime to knowingly make “any false statement or

report” for “the purpose of influencing in any way the action” of the FDIC or a

financial institution with respect to a loan. Count One alleged that in his

February 23, 2018 conversation with Planet Home, defendant “falsely stated

that he only owed $100,000 or $110,000 to Washington Federal and that any

higher amount was incorrect.” App. 115. Count Two alleged that defendant

made two false statements to the FDIC on March 1, 2018: (1) “that he only

owed $110,000 to Washington Federal” and “that any higher amount was

incorrect,” and (2) that the funds from Washington Federal “were for home

improvement.” App. 116.

Trial

        A six-day jury trial was held in February 2022, during which the

government presented evidence consistent with the offense conduct described

above. R. 120-123, 128, 140. The jury convicted defendant of all counts. R. 141.

With respect to Count Two, per the special verdict form, the jury found that

defendant made both of the charged false statements for purposes of

influencing the FDIC. Tr. 1332-33, 1428.




                                        12
        Case: 22-2254     Document: 21         Filed: 02/06/2023   Pages: 64


Defendant’s Post-Trial Motion for Acquittal

      Under Federal Rules of Criminal Procedure 29 and 33, defendant filed a

post-trial motion for a judgment of acquittal notwithstanding the verdict or,

alternatively, a new trial. 5 R.154. Defendant argued that (1) the government

presented insufficient evidence for the jury to find that defendant stated he

owed only $100,000 or $110,000 and not a higher amount; (2) the government

presented insufficient evidence for the jury to find that defendant told the

FDIC that the purpose of his loan from Washington Federal was for “home

improvement” with intent to influence the FDIC; (3) defendant’s statements to

Planet Home and the FDIC about the amount he owed were literally true and

therefore could not be the basis for a conviction under § 1014; and (4) the

difference between the government’s proof at trial and the indictment

constituted a constructive amendment because the evidence showed that

defendant made statements about the amount he “borrowed,” not “owed” as

alleged in the indictment. R. 154 at 2-13.

      The district court denied defendant’s post-trial motions. App. 40-102.

The court found sufficient evidence established that defendant “knowingly

made false statements as charged in Count I and II.” App. 70. The court also




5 Defendant also filed a written motion for judgment of acquittal on Counts One and

Two after the government announced its intention to rest during its trial. R. 124. The
district court orally denied that motion without prejudice. Tr. 1168.

                                         13
        Case: 22-2254        Document: 21        Filed: 02/06/2023   Pages: 64


found that the “evidence before the jury consisted of several different facts,”

including defendant’s own words, that “could lead the jury to draw the

reasonable inference” that defendant told the FDIC his loan was for home

improvement “in order to avoid the FDIC looking closely at all documentation

and discovering the additional two loan disbursements.” App. 76. The court

acknowledged that it “would not have been surprised if the jury had returned

a not guilty verdict” related to the home-improvement false statement, “but it

matters not, as it is not the role of the trial judge, on a Rule 29 motion, to

reweigh the testimony.” App. 75.

       Citing United States v. Freed, 921 F.3d 716 (7th Cir. 2019) among other

cases, the district court also found that “literal falsity is not required to sustain

a conviction under Section 1014.” App. 69. Given that ruling, the court did “not

address the Government’s argument that [defendant’s] statements were

literally false.” App. 70.

      Finally, the district court found that there had been no constructive

amendment of the indictment, as such “concerns are mitigated” when the “jury

is instructed” that it must find “defendant made the statements as alleged in

the indictment—as the jury was instructed here.” App. 57-58. Instead, the

court concluded that, at most, a “variance” occurred, which “was immaterial.”

App. 59-61.




                                            14
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


Sentencing

      On July 6, 2022, defendant was sentenced to below-Guidelines sentences

of four months’ incarceration on each of his seven counts of conviction, with the

sentences to be served concurrently. App. 7. Defendant was also ordered to

serve one year of supervised release, which he is currently serving. App. 8.

Defendant was also ordered to pay restitution to the IRS and to the FDIC.

App. 3-4.

                        SUMMARY OF ARGUMENT

      1.    The jury’s guilty verdicts on Counts One and Two were amply

supported by the trial evidence. The evidence more than established that

defendant told both Planet Home and the FDIC—either precisely as alleged in

the indictment or, at the very least, in substance—that he owed $110,000 but

no higher amount. Defendant expressly stated that he “owed” (and “borrowed”)

$110,000, all the while expressing “shock” at the Planet Home invoice

reflecting a significantly higher loan balance. Based on the government’s

evidence—which included defendant’s own words and a steady trail of

documents establishing that defendant’s loan balance was, in fact, $269,000—

the jury properly concluded that defendant made the false statement alleged

in Count One and the first half of Count Two, in violation of 18 U.S.C. § 1014.

      2.    The evidence, and the reasonable inferences it supported, also

provided the jury with the necessary foundation to convict defendant under


                                       15
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


§ 1014 for making the false statement alleged in the second half of Count Two:

the funds defendant received from Washington Federal were for “home

improvement.” Defendant does not dispute that he made this statement and

that it was false; he contends only that he did not make the statement with the

requisite “intent to influence.” But the evidence established otherwise, where

defendant made the statement knowing that the scant paperwork Washington

Federal maintained in connection with that loan matched his “home

improvement” cover story and that Washington Federal’s records were in

disarray. This evidence, coupled with defendant’s insistence that Planet Home

move quickly to resolve the dispute over his outstanding loan balance, more

than permitted the jury to conclude that defendant made his false “home

improvement” statement in an effort to dissuade the FDIC from conducting

any additional investigation to unearth the additional $20,000 and $89,000

checks defendant had received from Washington Federal.

      3.    Defendant’s statements to Planet Home and the FDIC were “false”

for purposes of § 1014, where defendant stated that (1) he, alternately, owed

and borrowed $110,000 while disputing the higher loan balance, and (2) his

Washington Federal loan was for home improvement purposes. Although

defendant asserts that his statements were literally true and thus not a basis

to convict to him under § 1014, that contention is both factually incorrect and

legally irrelevant. It was not literally true that defendant’s loan was for home

                                       16
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


improvement purposes, just as it was not literally true that defendant’s

citation to a $110,000 loan accurately reflected the extent of his debt.

Moreover, neither the Supreme Court nor this Court has held that a literal

truth defense should apply to a § 1014 prosecution, a conclusion that fits both

the plain language of § 1014 and its legislative history.

      4.    The trial evidence did not constructively amend the indictment.

(Nor did the jury instructions, which the district court adopted from

defendant’s proposal.) The trial evidence established a § 1014 offense, the same

crime set forth in the indictment, and involved the same statements set forth

therein. At most, any difference between the evidence and the indictment

amounted to a variance, but because defendant had notice of the government’s

evidence and robustly defended against it, any variance would be harmless.

      5.    The district court did not err in awarding the FDIC restitution in

the amount of unpaid interest that had been added into defendant’s loan

balance before his charged false statements. Defendant’s false statements were

a proximate cause of the FDIC’s loss, as they prompted the FDIC negotiating

a settlement that forwent the collection of unpaid interest.




                                       17
           Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


                                    ARGUMENT

I.        Viewed in the Light Most Favorable to the Government, the
          Jury’s Verdicts Were Amply Supported by the Evidence.

     A.        Standard of Review

          This Court reviews de novo the denial of a defendant’s motion for

acquittal pursuant to Rule 29, considering evidence in the light most favorable

to the government. United States v. Kelerchian, 937 F.3d 895, 907 (7th Cir.

2019) (quotation omitted). A conviction may be set aside only if “no rational

trier of fact could have found the defendant guilty.” United States v.

Armbruster, 48 F.4th 527, 531 (7th Cir. 2022) (quotation omitted). Under this

“highly deferential standard,” a conviction will be overturned only where “the

record is devoid of evidence from which a reasonable jury could find guilt

beyond a reasonable doubt.” Id. at 535 (quotation omitted).

     B.        Analysis

          1.     Substantial Evidence Supported the Jury’s Finding That
                 Defendant Told Planet Home and the FDIC That he Owed
                 Only $100,000 or $110,000 and No Higher Amount, as
                 Charged in Counts One and Two.

          The district court instructed the jury, in relevant part, that to convict

defendant on Count One, it needed to find that defendant falsely stated to

Planet Home “that he only owed $100,000 or $110,000 to Washington Federal

and that any higher amount was incorrect” and that to convict defendant for

one of the false statements charged in Count Two, it needed to find that


                                           18
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


defendant told the FDIC “that he only owed $110,000 to Washington Federal

and that any higher amount was incorrect.” Tr. 1323-25.

      On appeal, defendant does not dispute the propriety of these

instructions. Nor does defendant dispute that the government did not have to

prove that he used the exact words alleged in the indictment, but was required

only to prove that defendant made the charged statements in substance. See

United States v. Yasak, 884 F.2d 996, 1002 (7th Cir. 1989) (perjury indictment

need not “reiterate the exact words of the perjured testimony” as long as it

states “such testimony in substance” (quotation omitted)). Here, a properly

instructed jury, presented with ample evidence from the government, correctly

found that defendant made the charged statements, either precisely as alleged

in the indictment or, at the very least, in substance.

      As to Count One, there is no dispute over what defendant said during

the audio-recorded phone call to Planet Home. G. Ex. 188; App. 121-33.

Defendant called Planet Home after receiving an invoice with a loan balance

of approximately $269,000. G. Ex. 72. During this call, defendant repeatedly

stated that the invoice amount was incorrect. Approximately nine minutes into

the call, defendant stated: “But I know – I mean, I borrowed the money, I owe

the money – but I borrowed $100 thou – $110 – I think it was $110,000. . . . I

want to quickly resolve all this, and – and – you know, what I owe.” G. Ex. 188;

App. 127 (emphases added). In other words, defendant claimed that he

                                       19
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


borrowed (only) $110,000 and that he owed only that amount. Thus, contrary

to defendant’s claim that he said, “nothing at all about what he owed” (Br. 14),

defendant told Planet Home—twice—that he owed $110,000.

      Defendant also used the term “borrow,” but he used that term

interchangeably with “owe” to describe the funds he needed to pay the FDIC.

Defendant repeatedly referred to the “borrowed” $100,000 or $110,000 or the

note for “$100,000” in the context of claiming that he did not need to pay—i.e.,

that he did not owe—the loan balance printed on Planet Home’s invoice. G. Ex.

188; App. 123, 124, 127. Defendant claimed to be “shocked” and “perplexed” as

the loan balance reflected on the invoice “was significantly higher, and much

more than – remotely of what we were talking about.” G. Ex. 188; App. 124,

126. At another time during the call, defendant even went so far as to tell

Planet Home that he had “no idea” where the $269,000 balance came from. G.

Ex. 188; App. 123. In other words, throughout the call, defendant repeatedly

stated, both explicitly and in substance, that he borrowed, and therefore owed,

only $100,000 or $110,000, and that any information Planet Home had that

indicated a higher loan balance was incorrect.

      Based on defendant’s own statements to Planet Home—including his

multiple expressions of shock and confusion regarding the $269,000 loan

balance—the jury had more than enough evidence from which it could conclude

that defendant made the false statement charged in Count One about what he

                                       20
       Case: 22-2254     Document: 21         Filed: 02/06/2023    Pages: 64


owed the FDIC, both explicitly and in substance. The jury’s conclusion is

particularly well-founded when the evidence is assessed, as it must on

appellate review, in the light most favorable to the government.

      Similarly, with respect to Count Two, the trial evidence showed that

defendant misrepresented to the FDIC the extent of his debt. FDIC contractors

Holly and Newell testified that they told defendant his loan balance was

approximately $269,000. Tr. 1011, 1079. Holly and Newell both testified that

defendant told them his loan was only for $110,000 and that he disputed the

$269,000 balance. 6 Tr. 1011-12, 1029, 1079, 1088-89. Holly and Newell’s

testimony was corroborated by their contemporaneous notes of the

conversation, which included the following language: “Mr. Thompson spoke

about his personal debt 110,000,” “John Gembara loaned him 110,000 for home

improvement,” and “[h]e is disputing his balance.” App. 135; Tr. 1009, 1083.

Defendant argues that because Holly and Newell’s notes do not specifically

mention the $269,000 loan balance, Holly and Newell did not actually discuss


6  Defendant points to testimony from Holly, Newell, and the Planet Home
representative indicating that each thought defendant truly did not realize how much
he owed. Br. 6, 7; Tr. 1011, 1033, 1091, 1184. But the fact that defendant’s lies may
have been convincing merely underscores that he acted in an attempt to influence the
FDIC and Planet Home, a necessary element under § 1014. Moreover, defendant does
not argue on appeal that the evidence failed to show that he knowingly made false
statements. Even if that were defendant’s challenge, the jury heard ample evidence
that defendant knew his steadily increasing loan balance. See supra at 5-7
(summarizing records defendant received from, and conversations defendant had
with, Washington Federal showing his true loan balance in 2013 through 2017, as
well as other documents defendant had in his possession reflecting that information).

                                         21
        Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


that balance with him during the call. Br. 15. But Holly and Newell both

testified they told defendant his loan balance of approximately $269,000 (Tr.

1011-12, 1079), and even if the notes’ omission, or Holly and Newell’s testimony

on cross-examination, could be viewed as conflicting, it was proper for the jury

to credit their testimony that they discussed the $269,000 figure with

defendant. “It is the province of the jury, not the court, to weigh the conflicting

evidence.” United States v. Filer, 56 F.4th 421, 436-37 (7th Cir. 2022); see also

United States v. Cox, 54 F.4th 502, 517 (7th Cir. 2022) (“[I]t is well settled that

[an appeals court] does not weigh in on credibility issues when reviewing a

verdict.”).

      Defendant’s reliance on Holly and Newell’s negative responses to

questions on cross-examination about whether defendant ever said he only

owed $110,000 and no higher amount is misplaced. Br. 15. Both Holly and

Newell also testified that defendant told them he borrowed $110,000 and that

he disputed the higher loan balance of $269,000. Tr. 1011-12, 1029, 1079; see

also Tr. 1088-89 (Newell testified defendant “did say he owed $110,000” but in

reality, defendant “owed more than $110,000.”) Viewing the evidence and

reasonable inferences to be drawn from it in the light most favorable to the

government, the jury was entitled to find that defendant’s statements to Holly

and Newell, in substance, were that he owed $110,000 and no higher amount,

even if he did not use the precise words teed up on cross-examination.

                                        22
       Case: 22-2254    Document: 21         Filed: 02/06/2023   Pages: 64


      At bottom, there was sufficient evidence to support the jury’s verdicts on

Count One and the first false statement charged in Count Two.

      2.    Substantial Evidence Supported the Jury’s Finding That
            Defendant’s Statement That He Borrowed Funds for “Home
            Improvement” Were Made To Influence the FDIC, as
            Charged in Count Two.

      Count Two alleged a second false statement: that the funds he owed

Washington Federal were for “home improvement.” Defendant does not

dispute that jurors were properly instructed that, to convict defendant under

§ 1014 in connection with this statement, they needed to find that defendant

made “the statement with the intent to influence the action of the [FDIC] in

collecting money owed by the defendant to the [FDIC].” Tr. 1325. Defendant

contends only that the evidence failed to establish that purpose. 7 Br. 27-30.

Contrary to defendant’s contention, the trial evidence, which included

defendant’s own words and actions from February and March 2018, were

sufficient to permit the jury to find that defendant told the FDIC the purpose

of the $110,000 loan was for “home improvement” in an effort to influence the

FDIC not to dig deeper into Washington Federal’s records and find evidence of

the additional $20,000 and $89,000 he borrowed from the bank.




7 On appeal, defendant has asked the Court to assume the evidence established he,

in fact, told the FDIC that the loan’s purpose was for “home improvement.” Br. 27,
n. 10.

                                       23
       Case: 22-2254    Document: 21         Filed: 02/06/2023   Pages: 64


      First, it is undisputed that defendant used none of Washington Federal’s

three checks for home improvement purposes. Yet defendant’s “home

improvement” statement was consistent with the 2011 note he had signed.

That note referenced a “Property Address” (listed as his home address), stated

that a “Security Instrument” was executed, and further stated that if “any part

of the Property or any Interest in the Property is sold or transferred” without

Washington Federal’s consent, the bank may “require immediate payment.”

G. Ex. 89. During his call with Planet Home, defendant directed Planet Home’s

attention to the 2011 note, saying “I signed a Promissory Note . . . for $100,000”

in “2011” G. Ex. 188; App. 123. When he told Planet Home that he had “just

signed a Promissory Note” with no formal “closing” (G. Ex. 188; App. 126-27,

129), he knew that he had borrowed an additional $20,000 and $89,000 in 2013

and 2014 for which he did not sign any additional documents, such as a note

(Tr. 494-96).

      Defendant’s other comments demonstrated that he hoped to avoid

having to repay the additional money he received in 2013 and 2014 and accrued

interest. He knew Washington Federal’s records were in disarray, specifically

mentioning that Washington Federal had failed, and that there had been some

“financial impropriety” which led to his main contact at the bank, Gembara,

“end[ing] up committing suicide.” G. Ex. 188; App. 123. Defendant also made

clear that he wanted to resolve the loan dispute “quickly.” G. Ex. 188; App. 127.

                                       24
       Case: 22-2254     Document: 21        Filed: 02/06/2023   Pages: 64


He asked if someone from Planet Home could get back to him “in a week.” G.

Ex. 188; App. 131.

      This evidence, and the reasonable inferences it supported, permitted the

jury to conclude—as it did—that defendant told Planet Home that his loan was

for “home improvement” because his story would match the scant amount of

paperwork readily available from Washington Federal. By providing Planet

Home with an easily verifiable, albeit incomplete, answer, defendant hoped the

FDIC would not pursue the matter further and that his two other checks from

Washington Federal would remain undiscovered.

      Defendant      dismisses   this   argument   as   “wild    and   convoluted

speculation.” Br. 29. But the government presented it to the jury which, by

convicting defendant, clearly credited it. Tr. 1350 (in closing, the government

argued that defendant lied so it would appear that “the note matched the

purpose” of the loan, so the paperwork did not “raise any red flags” that would

cause Planet Home to look more closely at defendant’s loan history and find

the other checks). In contrast, the jury rejected defendant’s argument—the

same one he advances on appeal—that the FDIC did not “care whether [the

loan] was for home improvements or a buy-in to a law firm or just because you




                                        25
        Case: 22-2254     Document: 21          Filed: 02/06/2023    Pages: 64


like to set money on fire,” so defendant’s “home improvement” statement “was

not made for the purpose of influencing anybody.” Tr. 1395. 8

      Defendant also argues that the government did not present evidence

from the FDIC about how defendant’s false “home improvement” statement

could have influenced it. Br. 28-29. No such evidence was required. The

relevant inquiry was whether defendant intended to “influenc[e] in any way

the action” of the FDIC—not whether the FDIC actually could have been

influenced by defendant’s statement. 18 U.S.C. § 1014. Materiality is simply

not an element of § 1014, see United States v. Wells, 519 U.S. 482, 484 (1997)—

a point defendant concedes (Br. 27). Instead, § 1014 “cover[s] ‘any’ false

statement that meets the other requirements in the statute, and the term ‘false

statement’ carries no general suggestion of influential significance.” Wells, 519

U.S. at 490. It is “no defense that [defendant] didn’t succeed in influencing” the

financial institution or FDIC, “or even that [defendant] couldn’t have

succeeded.” United States v. Phillips, 731 F.3d 649, 652 (7th Cir. 2013) (en

banc); see also Wells, 519 U.S. at 494 (“It does not lie with one knowingly


8 Defendant tries to find support in United States v. Sullivan, 903 F.2d 1093, 1099

(7th Cir. 1990), which is factually dissimilar. Br. 30. In Sullivan, this Court reversed
a defendant’s conviction for conspiracy with intent to distribute cocaine when the
government put forward no evidence of any co-conspirators and merely argued that
defendant must have gotten the drugs from “someone” and “he intended to deliver or
sell it to someone here in Chicago.” 903 F.2d at 1099. The jury here, in contrast, was
presented with specific evidence of defendant’s intent, including defendant’s own
words at the time of his false statement.


                                          26
          Case: 22-2254   Document: 21        Filed: 02/06/2023     Pages: 64


making false statements with intent to mislead. . . to say that the statements

were not influential or the information not important” (quotation omitted)). All

that is required is that the “speaker knows the falsity of what he says and

intends it to influence the institution.” Wells, 519 U.S. at 499.

      False statements under § 1014 nonetheless are often material because

statements made to influence are “not usually about something a banker would

regard as trivial.” Wells, 519 U.S. at 499. And materiality can be relevant to

whether a defendant acted with intent to influence—because a defendant’s lie

about something irrelevant may serve as circumstantial evidence that

defendant lacked the requisite mens rea. Phillips, 731 F.3d at 652-55. But

materiality is not dispositive in § 1014 prosecutions. As this Court explained

in Phillips, in the context of a false statement on a loan application, “even if

the bank didn’t care what was on the loan application,” a defendant could be

guilty of § 1014 if he “thought they were influencing the bank” with his lie. Id.

at 655.

      United States v. Mitchell, 15 F.3d 953 (10th Cir. 1994), also supports that

proposition. Mitchell involved a § 1014 where a defendant—like defendant

here—lied to a financial institution with the intent to “defer collecting

payment” on a loan. Id. at 956. The defendant in Mitchell falsely represented

to a financial institution where he had an outstanding loan that an asset he

had pledged as collateral for the loan was still available to the bank as security.

                                         27
            Case: 22-2254   Document: 21        Filed: 02/06/2023   Pages: 64


Id. The Tenth Circuit affirmed defendant’s conviction, even though the bank

was “not attempting or contemplating collection of the loan” when the false

statement was made, the bank was not “actively influenced” by the false

statement, and once the bank discovered the false statement, it “obtained new

collateral” and “did not press for collection.” Id. Mitchell explained: “It was not

necessary to prove that the bank was actively influenced by the misleading

statement. It is intent to influence that is vital, and actual reliance need not

be proved in a § 1014 case.” Id.

           Here, too, the evidence supported the jury’s conclusion that defendant

made his “home improvement” representation with the intent of deterring the

FDIC from collecting defendant’s loan in full, even if ultimately the FDIC was

not influenced by the false statement. Nothing more was required.

II.        Defendant’s Statements Were False and Even If They Were
           Literally True But Misleading, That Would Provide Defendant
           With No Defense to the § 1014 Charges Against Him.

      A.        Standard of Review

           Questions of statutory interpretation are reviewed de novo. United

States v. Foy, 50 F.4th 616, 622 (7th Cir. 2022).

      B.        Analysis

           1.     Defendant’s Statements Were False Under § 1014.

           Section 1014 makes it a crime to knowingly make a “false statement or

report” for “the purpose of influencing in any way the action” of the FDIC or a


                                           28
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


financial institution with respect to a loan. 18 U.S.C. § 1014. The statute is

“broad,” seeking to protect financial institutions and regulators from losses

caused by false statements. United States v. Freed, 921 F.3d 716, 723 (7th Cir.

2019). It requires no evidence of materiality or reliance by the victim

institution. See United States v. Lane, 323 F.3d 568, 583-84 (7th Cir. 2003).

      Defendant’s statements here were “false” for purposes of § 1014—and

thus a jury properly convicted him under the statute. He told the FDIC’s

contractors that his loan from Washington Federal was for “home

improvement” when the initial funds were undisputedly used for a law firm

capital contribution. And in two separate conversations, he disclosed only the

$110,000 he initially received from Washington Federal—without disclosing

the bank’s two later checks to him and the steadily accumulating interest and

while disputing Planet Home’s and the FDIC’s records of defendant’s total loan

balance. Because defendant’s statements falsely represented that he owed only

the lesser amount, he was culpable under § 1014.

      This Court’s precedent supports the conclusion that defendant made

false statements in violation of § 1014, including his statements referencing an

outstanding debt limited to $110,000. In United States v. Swanquist, 161 F.3d

1064, 1068-71 (7th Cir. 1998), the defendant failed to list all his debts when

applying to various banks for loans. For example, the defendant applied for a

home mortgage loan and, as part of that process, “submitted a self-created

                                       29
       Case: 22-2254     Document: 21        Filed: 02/06/2023   Pages: 64


personal financial statement” where he disclosed “truck and trailer loans in

the amount of $35,000, and notes payable in the amount of $189,000” when

defendant “actually had approximately $47,000 in truck and trailer loans, and

approximately $542,000 in outstanding notes payable.” Id. at 1069-70. At trial,

defendant, “testifying on his own behalf, stated that his financial statements

and loan applications were not false because all of the allegedly undisclosed

information was either disclosed elsewhere” or were “not required to be

disclosed.” Id. at 1070. He argued, in essence, that his statements regarding

the $35,000 in truck and trailer loans and $189,000 in notes payable were not,

in fact, false. The jury rejected that defense and, on appeal, this Court affirmed,

explaining that “the jury could rationally have concluded that . . . [defendant]

should have disclosed all of his loans . . . on the financial applications.” Id. at

1071-72. In other words, the defendant’s statements in Swanquist—which

could have been characterized as “half-truths”—provided a solid basis for

conviction under § 1014.

      This Circuit’s recent decision in Freed is consistent. In Freed, defendant

delivered a presentation to a bank which described “the proposed ‘Line of

Collateral’” as including “one hundred percent” of notes obtained through tax

increment financing (“TIF”), stated that the cost to sell the notes was $0, and

represented that the proceeds to be derived from the notes’ sale would be well

over $7 million. 921 F.3d at 723. What defendant did not disclose was that

                                        30
       Case: 22-2254     Document: 21         Filed: 02/06/2023   Pages: 64


“[t]he notes were already double pledged and thus unavailable to serve as

collateral.” Id. Defendant challenged his conviction on the ground that his

statements were “technically true” because the presentation never expressly

stated that the TIF notes were available as collateral. Id. This Court rejected

that defense and affirmed the jury’s verdict finding defendant guilty under

§ 1014, as the presentation’s representations were “false” within the meaning

of the statute. Id.

      Other federal appeals courts have upheld § 1014 convictions under

similar factual circumstances. For example, in United States v. Haddock, 956

F.2d 1534, 1549-51 (10th Cir. 1992), abrogated on other grounds by United

States v. Wells, 519 U.S. 482 (1997), the defendant negotiated with a bank to

obtain a $711,000 loan, but failed to list outstanding debts on a personal

financial statement. The Tenth Circuit affirmed defendant’s conviction under

§ 1014, holding that “[f]ailure to list outstanding loans on a form financial

statement or loan application constitutes a false statement under § 1014.” 9 Id.

at 1551. Accord United States v. Wells, 127 F.3d 739, 744 (8th Cir. 1997) (jury

was properly instructed that under § 1014, “[a] statement or representation is

‘false’ when it is untrue or effectively conceals” a fact); United States v. Trice,



9 The Tenth Circuit subsequently granted a limited rehearing to address a count of

the indictment other than the § 1014 counts; on rehearing, the panel did not discuss
the earlier holding regarding what constitutes a false statement for purposes of
§ 1014. United States v. Haddock, 961 F.2d 933 (10th Cir. 1992).

                                        31
       Case: 22-2254    Document: 21         Filed: 02/06/2023   Pages: 64


823 F.2d 80, 86 (5th Cir. 1987) (failing to disclose information “needed to avoid

deception in connection with a loan transaction” is a false statement under

§ 1014).

      At bottom, under this Circuit’s precedent, defendant’s statements here—

both about the purported purpose of his loan and the extent of that debt—were

“false statements” for purposes of § 1014.

      2.    “Literal Truth” Is Not an Available Defense Under § 1014.

      Even if defendant’s statements could reasonably be characterized as

literally “true,” that would provide no basis for overturning the jury’s verdicts.

As indicated by the cases discussed above, a “literal truth” defense recognized

has no application to § 1014 prosecutions.

      Defendant argues to the contrary by relying on Bronston v. United

States, 409 U.S. 352 (1973). Br. 20-21. In Bronston, the Supreme Court held

that the federal perjury statute, 18 U.S.C. § 1621, does not reach a witness’s

answer that is literally true, but unresponsive, even assuming the witness

intends to mislead his questioner by the answer, and even assuming the

answer is arguably false by “negative implication.” Id. at 359, 361-62. But

Bronston involved perjury charges, and § 1014 is not a perjury offense. See

Wells, 519 U.S. at 491 (“Congress did not codify the crime of perjury or

comparable common-law crimes in § 1014”). Moreover, neither the Supreme

Court nor this Court have extended Bronston to the § 1014 context—and for


                                       32
          Case: 22-2254   Document: 21        Filed: 02/06/2023   Pages: 64


good reason. In articulating a literal truth defense, Bronston focused on two

factors fundamental to the perjury context: (1) the availability of trained

questioners (i.e. lawyers) able to formulate precise questions that avoid

ambiguous or misleading answers; and (2) the effect that the absence of a

literal truth defense would have on the “adversary testimonial system.” 409

U.S. at 358-59. These issues have far less, if any, relevance in the context of

§ 1014.

      With respect to the first factor, Bronston centered its analysis on the idea

that perjury often occurs during testimony, and if a non-responsive or

incomplete answer is given by a witness, “it is the lawyer’s responsibility to

recognize the evasion” and ask additional questions to “flush out the whole

truth.” 409 U.S. at 358-59. This Court has repeated that rationale when

discussing Bronston in perjury matters. For instance, in United States v.

Laikin, when assessing the sufficiency of evidence for a conviction under 18

U.S.C. § 1623 (criminalizing false declarations before grand juries), this Court

explained that “[t]he rationale of the Bronston case was that an unresponsive

answer should put the questioner on notice of the need to pin the witness down

with more precise questioning.” 583 F.2d 968, 971 (7th Cir. 1978). Similarly,

in United States v. Rahman, 805 F.3d 822, 838-39 (7th Cir. 2015), this Court

extended Bronston’s literal truth defense to a defendant convicted under 18

U.S.C. § 1001(a)(2) (criminalizing false statements made in matters within a

                                         33
        Case: 22-2254     Document: 21         Filed: 02/06/2023    Pages: 64


federal agency’s jurisdiction) because a law enforcement officer failed to ask

follow-up questions that could have resolved defendant’s ambiguous answers.10

In contrast, false statements punishable under § 1014 do not typically occur in

response to targeted questioning by seasoned interrogators; rather, they occur

in more informal and less adversarial communications with bank employees.

Bronston’s first rationale for the literal truth defense is thus far less

transferable to the typical § 1014 setting.

      Bronston’s second rationale for a literal truth defense in perjury cases is

also unsuited to § 1014. Bronston focused on dangers that might arise if a jury

were invited to parse a witness’s “unresponsive answer[s]” for evidence of

culpability. 409 U.S. at 359. It explained:

      A jury should not be permitted to engage in conjecture whether
      an unresponsive answer, true and complete on its face, was
      intended to mislead or divert the examiner; the state of mind of
      the witness is relevant only to the extent that it bears on whether
      he does not believe (his answer) to be true. To hold otherwise
      would be to inject a new and confusing element into the adversary
      testimonial system we know. Witnesses would be unsure of the
      extent of their responsibility for the misunderstandings and
      inadequacies of examiners, and might well fear having that
      responsibility tested by a jury under the vague rubric of “intent to
      mislead” or “perjury by implication.”




10 This Court has also applied the literal truth defense to at least one case involving

a government form, as opposed to dynamic questioning, but where the form required
precise answers to questions that cannot be characterized as “open-ended.” See
United States v. Reynolds, 919 F.2d 435, 437 (7th Cir. 1990) (involving a conviction
under 26 U.S.C. § 7206(1), which “is a perjury statute”).

                                          34
       Case: 22-2254     Document: 21        Filed: 02/06/2023   Pages: 64


Id. (quotation omitted) (emphases added). In other words, Bronston expressed

concern that the possibility of a perjury charge, minus a literal truth defense,

could dissuade witnesses in court proceedings from testifying or otherwise

could compromise their testimony. These same concerns simply do not carry

over to § 1014, where the possibility of a false-statement charge is quite

unlikely to dissuade individuals from applying for a loan or otherwise using a

financial institution’s services.

      Defendant cites additional cases which do not discuss Bronston in

support of his proposition that “literal truth” is a defense to a § 1014 charge.

(Br. 17-21). At least two of defendant’s cases do not even involve a “statement”

for purposes of § 1014. See Williams v. United States, 458 U.S. 279, 284-85

(1982) (holding that the act of presenting a check to a bank, drawn on an

account with insufficient funds, was not a statement at all); United States v.

Thorn, 17 F.3d 325, 327-28 (11th Cir. 1994) (defendant “made no statement,”

not even an “implied statement” when he delivered a title insurance policy to

the bank that did not list an outstanding mortgage). And a third involved a

statement that was simply not false. See United States v. Staniforth, 971 F.2d

1355, 1361-62 (7th Cir. 1992), abrogated on other grounds by United States v.

Wells, 519 U.S. 482 (1997) (defendant truthfully represented that the bank




                                        35
        Case: 22-2254     Document: 21          Filed: 02/06/2023    Pages: 64


would acquire security interest in stock that, at the time, was owned by

defendant, had value, and had not yet been liquidated). 11

      Bronston’s literal truth defense is therefore inapplicable to § 1014.

      3.     The Plain Language of § 1014 Does Not Support a Literal
             Truth Defense.

      Section 1014 reads:

      Whoever knowingly makes any false statement or report, or
      willfully overvalues any land, property or security, for the purpose
      of influencing in any way the action of . . . a Federal land bank, a
      Federal land bank association, a Federal Reserve bank, a small
      business investment company, . . . the Small Business
      Administration in connection with any provision of that Act, a
      Federal credit union, an insured State-chartered credit union, any
      institution the accounts of which are insured by the Federal
      Deposit Insurance Corporation, any Federal home loan bank, the
      Federal Housing Finance Agency, the Federal Deposit Insurance
      Corporation, the Farm Credit System Insurance Corporation, or
      the National Credit Union Administration Board, a branch or
      agency of a foreign bank . . . or a mortgage lending business, or any
      person or entity that makes in whole or in part a federally related
      mortgage loan . . . upon any application, advance, discount,
      purchase,     purchase     agreement,      repurchase     agreement,
      commitment, loan, or insurance agreement or application for
      insurance or a guarantee, or any change or extension of any of the
      same, by renewal, deferment of action or otherwise, or the

11 In United States v. Attick, 649 F.2d 61, 63 (1st Cir. 1981), which defendant also

relies on (Br. 18), the First Circuit stated that a defendant “cannot be convicted under
18 U.S.C. § 1014 if the statement claimed to be false is, in fact, literally true.” But
Attick went on to affirm defendant’s convictions under § 1014 because the charged
statement was not, in fact, “literally true.” Id. at 65. And in making this
determination, Attick examined the context for defendant’s statement, including by
examining Rhode Island contract law and its application to an agreement between
the bank and defendant’s entity that bore on the accuracy of defendant’s statement.
In other words, Attick examined more than just defendant’s words—and instead
examined how those words would have been understood by the bank—before
concluding that a jury properly concluded that they were not the “literal truth.”

                                          36
       Case: 22-2254       Document: 21        Filed: 02/06/2023   Pages: 64


      acceptance, release, or substitution of security therefor, shall be
      fined not more than $1,000,000 or imprisoned not more than 30
      years, or both.

18 U.S.C. § 1014.

      This statutory language is “capacious.” Freed, 921 F.3d at 723. Nothing

in it limits the phrase “any false statement” to statements that are expressly

false nor does the statute’s plain language excludes statements that are

impliedly so. Instead, § 1014 is “cast in broad disjunctive terms,” and as Freed

explained, precisely because “Congress hoped to effort to protect federally

insured institutions from losses stemming from false statements or

misrepresentations that mislead the institutions into making financial

commitments, advances, or loans.” Id. (citing Williams, 458 U.S. at 294

(Marshall, J., dissenting) (emphasis added). See also Williams, 458 U.S. at 288

(explaining that § 1014 was written in 1948 to combine “13 existing statutes,

which criminalized fraudulent practices directed at a variety of financial and

credit institutions, [in]to a single section”) (emphasis added); United States v.

Krilich, 159 F.3d 1020, 1028 (7th Cir. 1998) (describing the text of § 1014 as

“straightforward and broad,” applying to “‘any’ statement made for the purpose

of influencing in ‘any’ way the action of ‘any’ of the covered institutions in ‘any’

application”). In asking this Court to make a literal truth defense available in

§ 1014 prosecutions, defendant advocates for a curiously restrictive reading of

a plainly broad statute.

                                          37
       Case: 22-2254     Document: 21        Filed: 02/06/2023   Pages: 64


      Moreover, a broad reading of § 1014 is supported by this Court’s

similarly broad reading of other statutes that serve similar purposes as § 1014.

For example, 18 U.S.C. § 152(3) prohibits “knowingly and fraudulently

mak[ing] a false declaration, certificate, verification, or statement” in a

bankruptcy proceeding, and in United States v. Ellis, 50 F.3d 419, 423-25 (7th

Cir. 1995), this Court held that a “false statement” under § 152(3) included

“omissions of . . . material information.” In reaching this conclusion, Ellis

explained that the statutory purpose behind bankruptcy statutes such as § 152

was to protect bankruptcy courts, which “depend on petitioners to provide

truthful and complete information” and “have the right to expect that the

petitions filed will reflect accurately the financial situation of the petitioner.”

Id. at 423; accord United States v. Gellene, 182 F.3d 578, 586-87 (7th Cir. 1999)

(Section 152 has an “expansive scope” because it was “Congress’ attempt to

criminalize all the possible methods by which a debtor . . . may attempt to

defeat the intent and effect of the Bankruptcy Code”). Ellis therefore reasoned:

“If we are to be faithful to the congressional intent, omissions . . . must be

treated, for purposes of § 152, in the same manner as blatantly false

statements.” 50 F.3d at 425. As noted above, § 1014 was similarly enacted to

protect financial institutions and their regulators from losses caused by

customers providing false information. Under this backdrop, just as in Ellis,




                                        38
       Case: 22-2254    Document: 21         Filed: 02/06/2023   Pages: 64


there is no need to read limitations into the term “false statement” that are not

present on the face of the statute.

      To be sure, as defendant argues (Br. 22-24), the Sixth Circuit has held

otherwise. United States v. Kurlemann, 736 F.3d 439, 445-46 (6th Cir. 2013),

concluded that “half-truths,” “material omissions” or “concealments” are not

included in § 1014’s prohibition of “any false statement.” See also id. (“[Section

1014] does not cover misleading statements, false pretenses, schemes, trickery,

fraud or other types of deception.”). Kurlemann’s analysis, however, is flawed

for at least two reasons.

      First, in interpreting the statute’s plain language, Kurlemann does not

grapple with the congressional intent behind § 1014. As summarized earlier,

this Court has described § 1014 as a “broad” statute designed to protect

financial institutions from “statements” and “misrepresentations” that are

both “false” and “mislead[ing].” Freed, 921 F.3d at 723. Second, Kurlemann is

based on an overly expansive reading of Williams. There, as noted earlier, the

Supreme Court held that, for purposes of § 1014, “a check is not a factual

assertion at all, and therefore cannot be characterized as ‘true’ or ‘false.’” 458

U.S. at 284. See also Krilich, 159 F.3d at 1029 (reiterating that Williams held

that a check makes no “statement” at all other than providing “an instruction

for the drawee bank to pay”). The Williams majority, in other words, had no

reason to decide whether § 1014 covered both expressly false statements as

                                       39
         Case: 22-2254   Document: 21        Filed: 02/06/2023   Pages: 64


well as statements that were impliedly so. Kurlemann nonetheless concluded

that “[a]fter Williams, a false-statement prosecution under § 1014 cannot

generally be premised on implied representations” and must instead “turn on

true-or-false representations later shown to be false.” 736 F.3d at 447. In

contrast to Kurlemann, this Court has read Williams narrowly, describing

Williams as “merely hold[ing] that checks cannot be considered factual

assertions.” Freed, 921 F.3d at 723-24 (Section 1014’s prohibition on false

statements includes “a promise [to a financial institution] made with a present

intent not to keep it” as “Williams cannot be read to mean that promises are

categorically beyond the reach of § 1014”). Kurlemann’s reasoning thus is not

sound.

      Defendant fares no better with his reliance on United States v. Kucik,

844 F.2d 493, 499 (7th Cir. 1988), for the proposition that a “false pretense”—

but not a false statement—is “any untrue representation, including an implicit

one.” Br. 19. But Kucik did not attempt to define “false statement” and also

stated that it was “unlikely” that the Supreme Court would “distinguish a false

statement from a false pretense.” 844 F.2d at 500. More to the point, whatever

language other false statement, fraud, or perjury statutes might use—i.e.,

whether they refer to a defendant’s statements, representations, omissions,

concealments—the fact remains that nothing in the plain language of § 1014,

nor its underlying legislative history, purports to limit the statute’s scope to

                                        40
        Case: 22-2254     Document: 21         Filed: 02/06/2023    Pages: 64


any particular kind of false statement. Where a literal truth defense is

therefore unavailable to defendant under his statute of conviction, the jury’s

verdict should be affirmed.

      4.     Even if a Literal Truth Defense Were Available Under
             § 1014, Defendant Could Not Prevail Because His
             Statements Were Not Literally True.

      Even under a literal truth defense, defendant cannot prevail because his

statements to Planet Home and the FDIC were not literally true.

      It was not literally true that defendant had initially taken out a loan

from Washington Federal for “home improvement” purposes because

defendant, in fact, had borrowed the initial funds for his law firm capital

contribution. Tr. 796-99, 828-30. And it was not literally true that defendant

“owe[d]” or “borrowed” “$110,000” from Washington Federal when, in fact,

defendant received two additional checks from the bank and when unpaid

interest was steadily accumulating on his total loan. G. Ex. 188; App. 127. 12




12 Defendant erroneously asserts that during the June 3, 2022 hearing on defendant’s

post-trial motions, the government conceded that defendant’s statements were
literally true. Br. 16 (citing 6/3/22 Tr. 11:4-6). The government instead described
analogous situations where a statement may have a “kernel of truth” but the failure
to disclose the entirety rendered the statement “false.” 6/3/22 Tr. 8-11. The
government made consistent statements during oral arguments on the Rule 29
motion that occurred during trial. See Tr. 1157 (defendant’s statement that he
“borrowed $110,000 . . . while literally true, is not the whole story because he knew
he received $219,000” plus interest); Tr. 1161 (the falsity of defendant’s statement is
evaluated through the “totality of the circumstances” and, in context, his statements
that he borrowed and owed $110,000 were “not true”).

                                          41
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


      Defendant told Planet Home that he had “no idea” where the $269,000

figure on Planet Home’s invoice came from; that it was “significantly higher

and much more than – remotely of what we were talking about”; and that

$269,000 figure “doesn’t match anything that I have.” G. Ex. 188; App. 123-

24. In reality, defendant had received multiple communications from

Washington Federal showing his rising loan balance (See, e.g., G. Exs. 59, 139,

216 at 9) and maintained in his possession copies of two loan applications

which he signed in 2016 under penalty of perjury, stating his loan balance with

Washington Federal at that time was $249,050 (G. Exs. 60, 61, 102, 103;

Tr. 822, 904, 908). In other words, it was not literally true that defendant

“borrowed” or “owed” $110,000, while feigning ignorance of the $269,000 figure.

Cf. United States v. Tantchev, 916 F.3d 645, 650-52 (7th Cir. 2019) (holding

that a statement could not be literally true when the evidence supported a

jury’s finding that defendant understood the false nature of his statement from

the context of the conversation).

      Because defendant’s statements to Planet Home and the FDIC were not

literally true, defendant’s convictions under § 1014 should stand.




                                       42
         Case: 22-2254   Document: 21        Filed: 02/06/2023    Pages: 64


III.    Neither the Jury Instructions Nor the                    Trial   Evidence
        Constructively Amended the Indictment.

   A.     Standard of Review

        Typically, this Court considers whether a constructive amendment

occurred as a question of law reviewed de novo. United States v. Trennell, 290

F.3d 881, 886 (7th Cir. 2002). But where a defendant did not raise a claim

related to constructive amendment in the district court, including by

affirmatively agreeing to the jury instructions, the defendant has waived the

claim for purposes of appeal. See United States v. Cusimano, 148 F.3d 824, 828

(7th Cir. 1998). In the alternative, defendant has forfeited the claim, and on

plain-error review of constructive amendment claims, the Court considers

whether the amendment “constitute[d] a mistake so serious that but for it the

[defendant] probably would have been acquitted.” Id. (citing United States v.

Remsza, 77 F.3d 1039, 1043 (7th Cir. 1996)).

   B.     Analysis

        Defendant was convicted of the exact same false statements charged in

the indictment’s Count One and (as relevant to his argument on appeal) Count

Two. 13 No constructive amendment thus occurred.




13 Defendant does not argue that a constructive amendment occurred in connection

with the second false statement alleged in Count Two: that his loan was for “home
improvement.” Br. 24-27.

                                        43
       Case: 22-2254     Document: 21         Filed: 02/06/2023   Pages: 64


      A constructive amendment can be caused when either the jury

instructions set forth, or trial evidence proves, “an offense not alleged in the

indictment.” United States v. Heon Seok Lee, 937 F.3d 797, 806 (7th Cir. 2019).

Defendant does not—indeed, cannot—argue that the jury instructions

constructively amended the indictment. The district court used defendant’s

proposed instructions about the false statements—instructions which

contained the indictment’s language about the substance of the false

statements. R. 127 at 4, 6; Tr. 1253-60, 1323-25. 14 And as noted earlier,

defendant does not challenge these instructions on appeal. See supra at 19.

Therefore, defendant has waived any objection to these instructions as a

potential basis for a constructive amendment of the indictment. See United

States v. Edgeworth, 889 F.3d 350, 355 (7th Cir. 2018) (waiver occurs when

defendant “affirmatively approves an instruction to the jury”) (internal citation

omitted); United States v. Gan, 54 F.4th 467, 478 n.1 (7th Cir. 2022) (“even

plain-error review not available for invited errors in jury instructions”)

(citation omitted).



14 At defendant’s request, the jury was instructed that it needed to find, for Count

One, that “defendant falsely told Planet Home Lending that he only owed $100,000
or $110,000 to Washington Federal and that any higher amount was incorrect,” and
for Count Two, that defendant made at least one of the following false statements:
(1) that “defendant stated he only owed $110,000 to Washington Federal and that any
higher amount was incorrect” or (2) “defendant stated that the funds from
Washington Federal were for home improvements.” R. 127 at 4, 6; Tr. 1254-60, 1323-
25.

                                        44
       Case: 22-2254     Document: 21         Filed: 02/06/2023   Pages: 64


      Nor did the trial evidence cause a constructive amendment. Constructive

amendments based on evidence occur when the evidence involves “a complex

set of facts distinctly different from the one alleged” in the indictment. Heon

Seok Lee, 937 F.3d at 806 (quotation omitted). According to defendant, this

scenario occurred here, where the indictment alleged that he made one false

statement—that he owed $110,000—and the evidence proved a different false

statement—that he borrowed $110,000 and disputed a higher balance. Br. 24.

But these variations simply represent different interpretations of the same

conversation; the trial evidence did not prove a “distinctly different” set of facts

from that alleged in the indictment. Defendant argued to the jury that

defendant “didn’t say he only owed $110,000,” as charged in the indictment,

because instead he said he “borrowed $100 or $110,000, and he disputed that

the $269,000 was correct.” Tr. 1383. The jury rejected defendant’s argument,

as they were entitled to do, by viewing the defendant’s statements in context.

The district court concluded the same when denying defendant’s post-trial

motion for acquittal. App. 59 (“The Court finds that here, in context, the

evidence presented did not establish offenses ‘different from or in addition to

those charged by the grand jury.’”) (citing United States v. Khilchenko, 324 F.3d

917, 920 (7th Cir. 2003)) (emphasis added).

      For the first time on appeal, defendant argues a new theory of

constructive amendment: that the jury could have found defendant’s statement

                                        45
       Case: 22-2254     Document: 21         Filed: 02/06/2023   Pages: 64


referencing the $110,000 loan to be false because he owed interest on the loan.

Br. 25. Defendant did not advance this claim in the district court, either during

trial or in his post-trial motion. 15 R. 124 at 8; R. 154 at 5-6. The decision to

present some grounds but not others evinces a deliberate decision to forego a

claim, not a mere oversight, and results in waiver, not forfeiture. See United

States v. Hathaway, 882 F.3d 638, 641 (7th Cir. 2018); United States v. Brodie,

507 F.3d 527, 531-32 (7th Cir. 2007). But even on plain-error review (see United

States v. Hall, 142 F.3d 988, 996 (7th Cir. 1998)), no constructive amendment

occurred regarding the interest evidence, let alone one that was plain.

      The trial evidence established that defendant owed unpaid interest on

his loan. Washington Federal repeatedly told defendant the unpaid interest

was being added to his loan balance. See, e.g., G. Exs. 57, 59, 139. By adding

unpaid interest to that balance and not demanding payment from defendant,

Washington Federal was, in effect, allowing defendant to “borrow” funds to

cover the unpaid interest. In his conversations with Planet Home and the

FDIC, defendant concealed that fact from those entities. By stating that he

only owed $110,000, defendant omitted not just the $20,000 and $89,000

checks, but also the unpaid interest that had been incorporated into his overall




15 For example, defendant did not object to the portions of the government’s closing

arguments that he cites in his brief, where the government referenced defendant’s
unpaid interest. Br. 25; Tr. 1338-39, 1343, 1411.

                                        46
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


loan balance. In other words, the unpaid interest did not represent a “distinctly

different” set of facts from those alleged in the indictment; defendant’s false

statement regarding the $110,000 figure inherently incorporated that interest.

      United States v. Ongaga, 820 F.3d 152 (5th Cir. 2016), which the district

court found persuasive in rejecting defendant’s constructive amendment claim,

supports this conclusion. App. 58. There, the Fifth Circuit analyzed an alleged

discrepancy between an indictment’s allegation that defendants had falsely

claimed on an immigration form that they entered into a “bona fide marriage”

and the trial evidence, which included the immigration form itself. Ongaga,

820 F.3d at 162-64. That form did not use the precise term “bona fide,” but

instead asked defendants to affirm that the “marriage was entered into in

accordance with the laws” and “not for the purpose of procuring an immigration

benefit.” Id. at 162. Ongaga found no constructive amendment, as the

“government’s allegations and the evidence . . . shared the same common

nucleus”— statements on the immigration form about their marriage—rather

than “false statements on different immigration forms” or “false statements

pertaining to anything but the defendants’ marriages.” Id. at 164. Similarly,

here, the government’s allegations and evidence regarding the difference

between the $110,000 figure and defendant’s true loan balance—a balance that

reflected two additional checks and unpaid interest—also shared a “common




                                       47
       Case: 22-2254    Document: 21         Filed: 02/06/2023   Pages: 64


nucleus,” meaning any possible discrepancy between the indictment and the

evidence did not amount to a constructive amendment. Id.

      To the extent any concerns about constructive amendment lingered, as

the district court explained when denying defendant’s post-trial motions, any

such concerns were mitigated because the jury was provided a copy of the

indictment (R. 129) and instructed to find defendant made the false statements

charged therein. App. 57-58, 60. See Heon Seok Lee, 937 F.3d at 808 n. 5

(constructive amendment concerns mitigated when jury was provided with a

copy of the indictment and told the government had to prove “the crimes it

alleged”); United States v. Mitchell, 64 F.3d 1105, 1112 (7th Cir. 1995) (no

constructive amendment occurred when jury was instructed that it had to find

defendant possessed the drug “charged [in the indictment] at the time and

place alleged”). This directive severely undercuts any argument that the jury

found defendant guilty of an offense different than the one charged in the

indictment.

      What remains is the possibility that any difference between the instant

indictment and the trial evidence amounted to a variance. See United States v.

Ratliff-White, 493 F.3d 812, 820 (7th Cir. 2007) (if “the terms of the indictment

are unaltered, but the evidence offered at trial proves facts materially different

than those alleged in the indictment” then a variance, not a constructive

amendment, has occurred). Courts have found variances where slight

                                       48
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


variations in relevant language, and interpretations thereof, arise. See, e.g.,

Ongaga, 820 F.3d at 164. (describing the discrepancy between the immigration

form’s language and the indictment’s reference to “bona fide” marriage as “[a]t

most . . . a variance” and a harmless one at that); United States v. Sorich, 523

F.3d 702, 716-17 (7th Cir. 2008) (harmless variance occurred where the

indictment alleged that defendant falsely stated he “had never heard” of a

group getting preferential treatment but trial evidence proved that defendant

said “he didn’t have any knowledge” about that group’s preferential

treatment).

      A variance is only fatal, however, if it deprives the defendant of an

opportunity to prepare a defense or exposes him to a risk of being prosecuted

twice for the same offense. Heon Seok Lee, 937 F.3d at 807. Here, defendant

can make no such claim. The government specifically identified the

conversations containing the false statements, providing defendant with a copy

of the audio recording for Count One and the FDIC’s contemporaneous notes

for Count Two. R. 159 at 11. Armed with that notice, defendant repeatedly

“defended against” that evidence through “his opening and closing statements”

and “by cross-examination of government witnesses.” United States v. Folks,

236 F.3d 384, 392 (7th Cir. 2001). Defendant’s argument that his statements

were about what he borrowed, not what he owed, was a constant theme at trial.

See, e.g., Tr. 317 (in his opening, defendant stated that told Planet Home that

                                       49
         Case: 22-2254     Document: 21        Filed: 02/06/2023   Pages: 64


he “believe[d]” he borrowed $110,000, and by calling Planet Home, he was

merely “seeking to clarify” and get “help”); Tr. 1033 (asking FDIC contractor

Holly on cross-examination if there is a “difference between what you borrow

and what you owe”); Tr. 1383 (arguing in closing that defendant said to Planet

Home that “he borrowed $100 or $110,000” and disputed his balance, but “[h]e

didn’t say he only owed, he didn’t even use the word owed”); Tr. 1384 (asserting

in closing that the “principal balance wasn’t $269,000” because it included “all

the interest that Gembara added” to the loan balance); Tr. 1389 (pointing to

Holly and Newell’s notes in closing and arguing “please show me on [the notes]

where [defendant] said I only borrowed $110,000 and no higher amount? He

didn’t say that.”).

        In short, no constructive amendment occurred where the trial evidence

did not prove a crime different than the one alleged in the indictment and

where, at most, any difference in the false statements charged and proven

constituted a harmless variance.

IV.     The District Court Did Not Err in Awarding Restitution to the
        FDIC.

   A.      Standard of Review

        The district court’s legal authority to issue a restitution order is reviewed

de novo, with the calculation of the restitution amount reviewed for abuse of

discretion. United States v. Rand, 403 F.3d 489, 493 (7th Cir. 2005). The



                                          50
         Case: 22-2254   Document: 21        Filed: 02/06/2023   Pages: 64


government must demonstrate the correct amount of the restitution award by

a preponderance of the evidence. Id. A district court’s factual determinations

in support of a restitution calculation are reviewed for clear error. See United

States v. Allen, 381 F. App’x 617, 619 (7th Cir. 2010) (citing United States v.

Adcock, 534 F.3d 635, 643 (7th Cir. 2008)); see also United States v. Young, 908

F.3d 241, 246 (7th Cir. 2018).

   B.     Background

        Following his March 1, 2018 phone call with FDIC’s Holly and Newell,

during which defendant disavowed any debt other than the $110,000 loan, the

FDIC discovered the two additional checks for $20,000 and $89,000 that

Washington Federal gave defendant in 2013 and 2014. Tr. 1012. They

confronted defendant with them (Tr. 1015-16, 1044), and defendant began

settlement negotiations on his debt with John Mallaber, a Planet Home

employee (D. Ex. 77 at 27-29). During those negotiations, Mallaber recalled,

defendant “didn’t think he owed interest [on the Washington Federal loan] for

certain reasons.” Id. at 11, 41. For example, on October 8, 2018, defendant

emailed Mallaber: “I completely disagree on the entire debt. Washington

Federal did not charge me any interest as we never formally closed on the loan

and they never invoiced me” except for two invoices in 2011. R. 184 at 21; G.

Ex. 196 at 3. In his email, defendant indicated he was only willing to pay any

interest that accrued after the FDIC took over the loan in late 2017, not any of


                                        51
       Case: 22-2254     Document: 21        Filed: 02/06/2023   Pages: 64


the interest that had accrued pre-2017 while Washington Federal was solvent.

Id.

      Ultimately, in December 2018, the FDIC agreed to a settlement where

defendant would pay the loan’s principal amount—$219,000 (representing the

three distributions of $110,000, $20,000, and $89,000)—but not any unpaid

interest. R. 184 at 22. Mallaber recommended that the FDIC accept less than

the full amount because “the collectability was questionable.” D. Ex. 77 at 40.

Mallaber explained that defendant was “playing defense on what’s owed” by

contesting he owed interest, and citing issues with the loan paperwork,

Mallaber also expressed concern over FDIC’s litigation risk. 16 D. Ex. 77 at 42-

43. Ultimately, the FDIC accepted the settlement (App. 146), and defendant

paid it $219,000 in early December 2018 (R. 40 at 14).

      During defendant’s sentencing proceedings, the government sought

$50,120.58 in restitution for the FDIC—a figure representing unpaid interest

as of February 2018, before defendant his false statements either to Planet

Home or the FDIC. R. 177 at 16-17. The government calculated that amount

by subtracting the $219,000 that defendant paid as part of his settlement with

the FDIC from the total amount on the invoice that defendant received from




16 Mallaber’s concerns with the loan paperwork included the unsecured nature of the

loan, and the fact that defendant’s wife never signed the note even though she
purportedly was a signatory to the loan. D. Ex. 77 at 26, 30, 42-43; App. 143-46.

                                        52
         Case: 22-2254   Document: 21        Filed: 02/06/2023   Pages: 64


Planet Home in February 2018. Id. The $50,120.58 figure excluded any interest

that had accrued after defendant’s false statements.

        Defendant objected to awarding restitution to the FDIC, arguing there

was “no loss resulting from the specific conduct for which he was convicted.”

R. 172 at 11-12. At sentencing, the district court overruled defendant’s

objection. It recognized that “a restitution award is authorized only with

respect to loss caused by the specific conduct that is the basis of the offense of

conviction” (App. 108), but found that the unpaid interest “is encompassed

within the circumstances of the offense for which Mr. Thompson has been

convicted.” App. 111-12. The court reasoned: “In the charged statements in

Count 1 and Count 2, he falsely represented that he owed only 110,000 rather

than the full amount of approximately 269,000, which did include interest.” Id.

The district court thus ordered restitution to the FDIC in the amount of that

unpaid interest: $50,120.58. Id.

   C.     Analysis

        The district court did not err in awarding the FDIC restitution in the

amount of unpaid interest as of the time of the charged conduct. Under 18

U.S.C. § 3663A(a), restitution is mandatory for losses sustained by the “specific

conduct that is the basis of the offense of conviction.” Rand, 403 F.3d at 493-

94. The victim must be “directly and proximately harmed as a result of the

commission” of the offense. United States v. Clark, 787 F.3d 451, 463 (7th Cir.


                                        53
       Case: 22-2254    Document: 21        Filed: 02/06/2023   Pages: 64


2015). Proximate cause is a “flexible concept” that “defies easy summary” but

generally means there is “some direct relation between” the loss and the

offense of conviction. Paroline v. United States, 572 U.S. 434, 444 (2014)

(quotations omitted). In other words, “[e]very event has many causes,” but a

proximate cause is one that has a “sufficient connection to the result.” Id.

      While properly recognizing that loss could only be awarded if the loss

was “caused by the specific conduct that is the basis of the offense of

conviction,” the district court did not clearly err in finding that the losses to

the FDIC caused by the unpaid interest were “encompassed within the

circumstances” of Counts One and Two. App. 108, 111-12. The FDIC’s loss was

clearly caused by defendant’s false statements. Before he made the false

statements, defendant received an invoice from Planet Home listing the

outstanding balance of his loan as $269,120.58, which included unpaid

interest. Defendant could have paid that balance and made the FDIC whole.

He did not, choosing instead to claim, falsely, that he only owed $110,000 and

that he was “shocked” because the invoice balance purportedly did not “match

with anything I have” and was “significantly higher” than what he discussed

with Washington Federal. G. Ex. 188, App. 123-26. His lies were a proximate

cause of the FDIC not being paid in full as it demanded back in early 2018.

      Defendant argues that his false statements did not proximately cause

any loss because the FDIC voluntarily entered into a settlement with

                                       54
       Case: 22-2254     Document: 21        Filed: 02/06/2023   Pages: 64


defendant. Br. 31-32. However, civil settlements do not preclude restitution

awards to victims in the full amount of their losses (minus funds already

repaid). Restitution is a “criminal penalty meant to have deterrent and

rehabilitative effects,” and parties cannot “simply agree” to a lower amount

through a settlement. United States v. Savoie, 985 F.2d 612, 619 (1st Cir. 1993);

see also United States v. Bearden, 274 F.3d 1031, 1040-41 (6th Cir. 2001)

(collecting cases). In United States v. Hairston, the Eleventh Circuit rejected a

defendant’s argument that a bank’s losses were proximately caused by the

bank’s own failure to negotiate a better settlement, holding that restitution in

the full amount of the victim bank’s losses was appropriate when the

settlement was for loss “based on fraud” committed by defendant. 888 F.2d

1349, 1354 (11th Cir. 1989). Hairston explained: “Although [defendant’s]

attorney suggested in argument possible ways [the victim] might have reduced

its loss, he offered no evidence at all to rebut the evidence the [victim] had lost

$25,000.” Id.

      Here, too, defendant does not dispute that interest had accrued on his

loan, nor does he dispute the FDIC was never paid that interest. Br. 31-33. The

FDIC had to contemplate, and eventually enter into, a settlement only because

instead of paying the interest owed, defendant lied about his loan balance

(which included interest). Had defendant simply paid the entirety of what he

owed—or at least made honest admissions regarding the extent of his debt—

                                        55
       Case: 22-2254     Document: 21        Filed: 02/06/2023   Pages: 64


the FDIC would not have been forced into a position where it had to assess its

litigation risk and accept, as a compromise measure, a settlement that

excluded interest. This is not a case where the “causal link between conduct

and result is so attenuated that the consequence is more aptly described as

mere fortuity.” Paroline, 572 U.S. at 445. Therefore, the district court’s award

of restitution was not in error.

                                   CONCLUSION

      For the foregoing reasons, the government respectfully requests that

defendant’s convictions on Count One and Two and sentence be affirmed.

                                      Respectfully submitted.

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                                        56
       Case: 22-2254     Document: 21       Filed: 02/06/2023   Pages: 64


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I hereby certify that:

      1. This brief complies with the type volume limitation of Federal Rules

of Appellate Procedure 32(a)(7)(B) and Circuit Rule 32(c) because it contains

13,553 words.

      2. This brief complies with the typeface and type-style requirements of

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                                     Respectfully submitted.

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                       CERTIFICATE OF SERVICE

      I hereby certify that on February 6, 2023, I electronically filed the

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